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12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                 No. CR 2:21-00485-DSF-2

15               Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                               MARILYN LOUISE FLYNN
16                    v.

17   MARILYN LOUISE FLYNN,

18               Defendant.
19

20               This constitutes the plea agreement between defendant
21   MARILYN LOUISE FLYNN (“defendant”) and the United States Attorney’s
22   Office for the Central District of California (the “USAO”) in the
23   above-captioned case.      This agreement is limited to the USAO and
24   cannot bind any other federal, state, local, or foreign prosecuting,
25   enforcement, administrative, or regulatory authorities.
26   ///
27   ///
28   ///
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1                                DEFENDANT’S OBLIGATIONS

2                Defendant agrees to:

3                a.    At the earliest opportunity requested by the USAO and

4    provided by the Court, appear and plead guilty to count three of the

5    indictment in United States v. Marilyn Louise Flynn, CR No. 21-485-

6    DSF-2, which charges defendant with Federal Program Bribery in

7    violation of 18 U.S.C. § 666(a)(2).

8                b.    Not contest the Factual Basis agreed to in this

9    agreement.

10               c.    Abide by all agreements regarding sentencing contained

11   in this agreement.

12               d.    Appear for all court appearances, surrender as ordered

13   for service of sentence, obey all conditions of any bond, and obey

14   any other ongoing court order in this matter.

15               e.    Not commit any crime; however, offenses that would be

16   excluded for sentencing purposes under United States Sentencing

17   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

18   within the scope of this agreement.

19               f.    Be truthful at all times with the United States

20   Probation and Pretrial Services Office and the Court.

21               g.    Pay the applicable special assessment at or before the

22   time of sentencing unless defendant has demonstrated a lack of

23   ability to pay such assessment.

24               h.    Agree to pay a fine of no less than $100,000.

25                               THE USAO’S OBLIGATIONS

26               The USAO agrees to:

27               a.    Not contest the Factual Basis agreed to in this

28   agreement.

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1                b.    Abide by all agreements regarding sentencing contained

2    in this agreement.

3                c.    At the time of sentencing, move to dismiss the

4    remaining counts of the indictment as against defendant.            Defendant

5    agrees, however, that at the time of sentencing the Court may

6    consider any dismissed charges in determining the applicable

7    Sentencing Guidelines range, the propriety and extent of any

8    departure from that range, and the sentence to be imposed.

9                d.    At the time of sentencing, provided that defendant

10   demonstrates an acceptance of responsibility for the offense up to

11   and including the time of sentencing, recommend a two-level reduction

12   in the applicable Sentencing Guidelines offense level, pursuant to

13   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

14   additional one-level reduction if available under that section.

15               e.    At the time of sentencing, based upon the factors

16   enumerated in 18 U.S.C. § 3553(a), recommend that the sentence

17   imposed by the Court be a probationary sentence that includes as a

18   condition that home confinement substitute for imprisonment.             There

19   is no agreement between the parties as to the appropriate term of

20   probation or home confinement.

21               f.    At the time of sentencing, recommend a fine of no more

22   than $150,000.

23                                NATURE OF THE OFFENSE

24               Defendant understands that for defendant to be guilty of

25   the crime charged in count three, that is, Federal Program Bribery in

26   violation of 18 U.S.C. § 666(a)(2), the following must be true:

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1                a.    Mark Ridley-Thomas was an agent of a State or local

2    government, or any agency thereof -- here, the County of Los Angeles

3    (“County”);

4                b.    Defendant gave, offered, or agreed to give a person

5    anything of value;

6                c.    Defendant acted corruptly, that is, intending to

7    influence or reward Mark Ridley-Thomas in connection with any

8    business, transaction, or series of transactions of the County

9    involving anything of value of $5,000 or more; and

10               d.    The County received, in any one-year period, benefits

11   in excess of $10,000 under a Federal program involving a grant,

12   contract, subsidy, loan, guarantee, insurance, or other form of

13   Federal assistance.

14                                       PENALTIES

15               Defendant understands that the statutory maximum sentence

16   that the Court can impose for a violation of 18 U.S.C. § 666(a)(2)

17   is: 10 years’ imprisonment; a three-year period of supervised

18   release; a fine of $250,000 or twice the gross gain or gross loss
19   resulting from the offense, whichever is greatest; and a mandatory

20   special assessment of $100.

21               Defendant understands that supervised release is a period

22   of time following imprisonment during which defendant will be subject

23   to various restrictions and requirements.          Defendant understands that

24   if defendant violates one or more of the conditions of any supervised

25   release imposed, defendant may be returned to prison for all or part

26   of the term of supervised release authorized by statute for the

27   offense that resulted in the term of supervised release, which could

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1    result in defendant serving a total term of imprisonment greater than

2    the statutory maximum stated above.

3                Defendant understands that, by pleading guilty, defendant

4    may be giving up valuable government benefits and valuable civic

5    rights, such as the right to vote, the right to possess a firearm,

6    the right to hold office, and the right to serve on a jury.

7    Defendant understands that defendant is pleading guilty to a felony

8    and that it is a federal crime for a convicted felon to possess a

9    firearm or ammunition.       Defendant understands that the conviction in

10   this case may also subject defendant to various other collateral

11   consequences, including but not limited to revocation of probation,

12   parole, or supervised release in another case and suspension or

13   revocation of a professional license.         Defendant understands that

14   unanticipated collateral consequences will not serve as grounds to

15   withdraw defendant’s guilty plea.

16         8.    Defendant understands that, if defendant is not a United

17   States citizen, the felony conviction in this case may subject

18   defendant to: removal, also known as deportation, which may, under
19   some circumstances, be mandatory; denial of citizenship; and denial

20   of admission to the United States in the future.           The Court cannot,

21   and defendant’s attorney also may not be able to, advise defendant

22   fully regarding the immigration consequences of the felony conviction

23   in this case.     Defendant understands that unexpected immigration

24   consequences will not serve as grounds to withdraw defendant’s guilty

25   plea.

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1                                      FACTUAL BASIS

2                Defendant admits that defendant is, in fact, guilty of the

3    offense to which defendant is agreeing to plead guilty.            Defendant

4    and the USAO agree to the statement of facts provided below and agree

5    that this Factual Basis is sufficient to support a plea of guilty to

6    the charge described in this agreement and to establish the

7    Sentencing Guidelines factors set forth in paragraph 11 below but is

8    not meant to be a complete recitation of all facts relevant to the

9    underlying criminal conduct or all facts known to either party that

10   relate to that conduct.

11         Background

12         From approximately 1997 to 2018, defendant was a tenured faculty

13   member at the University of Southern California (“USC”) and dean of

14   the USC Suzanne Dworak-Peck School of Social Work (“Social Work

15   School”).    USC was a private research university located in the

16   Second District of the County of Los Angeles (“County”), within the

17   Central District of California.

18         Co-defendant MARK RIDLEY-THOMAS (“co-defendant RIDLEY-THOMAS”)
19   was a member of the Los Angeles County Board of Supervisors (“Board

20   of Supervisors”) for the Second District from approximately 2008 to

21   2020 and served as the Chairman of the Board of Supervisors in or

22   around 2017.     The five-member Board of Supervisors was the governing

23   body of the County and had executive, legislative, and quasi-judicial

24   roles.    As a Supervisor, co-defendant RIDLEY-THOMAS was a high-level,

25   elected public official and an agent of the County.

26         The County was a local government that received benefits in

27   excess of $10,000 under a Federal program involving a grant,

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1    contract, subsidy, loan, guarantee, insurance, and other forms of

2    Federal assistance in both 2017 and 2018.

3          USC Telehealth Contract

4          In 2018, defendant was seeking an amendment to an existing

5    contract between USC/the Social Work School and the Los Angeles

6    County Department of Mental Health (“DMH”) related to services

7    provided by USC Telehealth (“Telehealth”).          Telehealth was a clinic

8    whereby Social Work School students provided online mental health and

9    counseling services to patients referred by the County.            USC and the

10   Social Work School received compensation in return for services

11   rendered.

12         In April 2018, co-defendant RIDLEY-THOMAS was aware of

13   defendant’s desire to secure an amended Telehealth contract with DMH

14   and the County.     Co-defendant RIDLEY-THOMAS also knew that defendant

15   wanted a meeting with County Official 2, a high-level County public

16   official, to facilitate and accelerate the necessary approvals for

17   the amended Telehealth contract.

18         The $100,000 Payment

19         At co-defendant RIDLEY-THOMAS’s request, defendant agreed to

20   have USC serve as a conduit for a $100,000 payment from co-defendant

21   RIDLEY-THOMAS’s campaign account to the Social Work School and to

22   then facilitate a nearly simultaneous $100,000 payment from USC to

23   the United Ways of California (“United Ways”) for the benefit of the

24   Policy, Research & Practice Initiative (“PRPI”).           PRPI was a new

25   nonprofit initiative led by co-defendant RIDLEY-THOMAS’s son, who had

26   recently and abruptly resigned from his elected position in the

27   California State Assembly.

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1          Co-defendant RIDLEY-THOMAS requested defendant’s help in

2    directing the $100,000 payment during a meeting on April 26, 2018.

3    During that meeting, co-defendant RIDLEY-THOMAS and defendant

4    discussed the $100,000 payment and PRPI as well as County business

5    that could benefit USC.       Both defendant and co-defendant RIDLEY-

6    THOMAS understood that defendant’s assistance with the $100,000

7    payment would further secure co-defendant RIDLEY-THOMAS’s support for

8    the amended Telehealth contract, especially by co-defendant RIDLEY-

9    THOMAS facilitating a meeting between defendant and County Official 2

10   for the purpose of having County Official 2 move forward

11   expeditiously with the amended Telehealth contract for USC/the Social

12   Work School.

13         On May 2, 2018, co-defendant RIDLEY-THOMAS caused a letter to be

14   delivered to defendant with a $100,000 check from his campaign

15   account made payable to the Social Work School.           Co-defendant RIDLEY-

16   THOMAS’s letter read: “Please find enclosed tangible acknowledgement

17   of the important work of the Suzanne Dworak Peck School of Social

18   Work in Los Angeles and beyond.        As Dean, these funds can be used at

19   your discretion in order to best facilitate the impressive policy and

20   practical work of the School and its impact in the community.”             Upon

21   receipt of these funds, both defendant and co-defendant RIDLEY-THOMAS

22   understood that defendant would facilitate an immediate $100,000

23   payment from USC to United Ways for the benefit of PRPI and co-

24   defendant RIDLEY-THOMAS’s son.        Defendant and co-defendant RIDLEY-

25   THOMAS agreed that the $100,000 payment to USC from his campaign

26   account was to provide USC and defendant with funding to make a

27   $100,000 payment to United Ways for the benefit of PRPI and co-

28   defendant RIDLEY-THOMAS’s son.

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1          On May 3, 2018, co-defendant RIDLEY-THOMAS emailed defendant the

2    bank wiring information for United Ways in order to facilitate the

3    $100,000 payment from USC to United Ways.          Co-defendant RIDLEY-THOMAS

4    told defendant that it was “necessary to act with dispatch” to

5    facilitate USC’s payment to United Ways “no later than May 15th” so

6    that United Ways/PRPI would have the funds necessary to hire an

7    employee (“Individual 1”).

8          On May 4, 2018, co-defendant RIDLEY-THOMAS emailed defendant and

9    asked her to contact a representative for United Ways to assure

10   United Ways that defendant and USC had “begun the funds transfer,” in

11   other words, that USC was certain to make the $100,000 payment to

12   United Ways.     Co-defendant RIDLEY-THOMAS sought to assure United Ways

13   that funding for PRPI was in progress so that United Ways would

14   permit PRPI and co-defendant RIDLEY-THOMAS’s son to hire Individual

15   1.

16         On May 8, 2018, defendant emailed co-defendant RIDLEY-THOMAS to

17   let him know that the $100,000 payment had been “cleared” and that

18   the check to United Ways/PRPI would be “overnight mailed.”             The

19   $100,000 check from USC to United Ways/PRPI was then delivered via

20   FedEx on or about May 11, 2018.

21         After defendant had informed co-defendant RIDLEY-THOMAS that

22   everything had been “cleared” and the $100,000 to United Ways/PRPI

23   was forthcoming, defendant met with County Official 2 on May 10, 2018

24   to discuss the amended Telehealth contract.          Co-defendant RIDLEY-

25   THOMAS facilitated setting up this meeting.          On May 11, 2018, the day

26   the $100,000 check was delivered to United Ways/PRPI, co-defendant

27   RIDLEY-THOMAS emailed defendant to discuss County business -- in his

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1     words, to talk about “master contract stuff” and “somehow use

2     yesterday’s ‘discussion’ to advance it          [winking face emoji].”

3           The Concealment and Violation of USC Policy

4           In order for their scheme to succeed, both defendant and co-

5     defendant RIDLEY-THOMAS concealed from USC that co-defendant RIDLEY-

6     THOMAS had directed a $100,000 payment to USC with the intent that

7     the funds be used to facilitate USC’s nearly simultaneous $100,000

8     payment to United Ways/PRPI.       Had this fact been known to USC, USC

9     would not have approved the $100,000 payment to United Ways/PRPI.

10          Furthermore, in order for defendant to successfully direct the

11    $100,000 payment to United Ways/PRPI by the desired May 15, 2018

12    deadline set by co-defendant RIDLEY-THOMAS, defendant violated USC

13    Accounting Department policy and improperly used a vendor account at

14    USC to process the $100,000 payment.        Defendant’s use of this vendor

15    account violated USC policy because, as defendant knew, United Ways

16    and PRPI were not vendors providing services to USC.           Defendant

17    improperly used a vendor account for the purpose of expediting the

18    $100,000 payment to ensure that the payment could be released from

19    the current fiscal year funds and to meet the May 15, 2018 payment

20    deadline set by co-defendant RIDLEY-THOMAS.          Had defendant’s

21    violation of USC policy been known to USC, USC would not have

22    approved the $100,000 payment to United Ways/PRPI.

23                                  SENTENCING FACTORS

24                Defendant understands that in determining defendant’s

25    sentence the Court is required to calculate the applicable Sentencing

26    Guidelines range and to consider that range, possible departures

27    under the Sentencing Guidelines, and the other sentencing factors set

28    forth in 18 U.S.C. § 3553(a).       Defendant understands that the

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1     Sentencing Guidelines are advisory only, that defendant cannot have

2     any expectation of receiving a sentence within the calculated

3     Sentencing Guidelines range, and that after considering the

4     Sentencing Guidelines and the other § 3553(a) factors, the Court will

5     be free to exercise its discretion to impose any sentence it finds

6     appropriate up to the maximum set by statute for the crime of

7     conviction.

8                 Defendant and the USAO agree to the following applicable

9     Sentencing Guidelines factors:

10       Base Offense Level:                      12 [U.S.S.G. § 2C1.1(a)(2)]

11       Specific Offense Characteristics

12       -Offense Involving Elected               +4 [U.S.S.G. § 2C1.1(b)(3)]
          Official
13
         -Value of the Bribe                      +8 [U.S.S.G. §§ 2C1.1(b)(2),
14                                                    2B1.1(b)(1)(E)]

15    Subject to paragraph 23 below, defendant and the USAO agree not to

16    seek, argue, or suggest in any way, either orally or in writing, that

17    any other specific offense characteristics, adjustments, or

18    departures relating to the offense level be imposed.           Defendant

19    understands that there is no agreement as to defendant’s criminal

20    history or criminal history category.

21                Defendant and the USAO reserve the right to argue for a

22    sentence outside the sentencing range established by the Sentencing

23    Guidelines based on the factors set forth in 18 U.S.C. §§ 3553(a)(1),

24    (a)(2), (a)(3), (a)(6), and (a)(7).

25                          WAIVER OF CONSTITUTIONAL RIGHTS

26                Defendant understands that by pleading guilty, defendant

27    gives up the following rights:

28                a.    The right to persist in a plea of not guilty.

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1                 b.    The right to a speedy and public trial by jury.

2                 c.    The right to be represented by counsel -- and if

3     necessary have the Court appoint counsel -- at trial.           Defendant

4     understands, however, that, defendant retains the right to be

5     represented by counsel -- and if necessary have the Court appoint

6     counsel -- at every other stage of the proceeding.

7                 d.    The right to be presumed innocent and to have the

8     burden of proof placed on the government to prove defendant guilty

9     beyond a reasonable doubt.

10                e.    The right to confront and cross-examine witnesses

11    against defendant.

12                f.    The right to testify and to present evidence in

13    opposition to the charges, including the right to compel the

14    attendance of witnesses to testify.

15                g.    The right not to be compelled to testify, and, if

16    defendant chose not to testify or present evidence, to have that

17    choice not be used against defendant.

18                h.    Any and all rights to pursue any affirmative defenses,

19    Fourth Amendment or Fifth Amendment claims, and other pretrial

20    motions that have been filed or could be filed.

21                           WAIVER OF APPEAL OF CONVICTION

22                Defendant understands that, with the exception of an appeal

23    based on a claim that defendant’s guilty plea was involuntary, by

24    pleading guilty defendant is waiving and giving up any right to

25    appeal defendant’s conviction on the offense to which defendant is

26    pleading guilty.     Defendant understands that this waiver includes,

27    but is not limited to, arguments that the statute to which defendant

28    is pleading guilty is unconstitutional, and any and all claims that

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1     the Factual Basis provided herein is insufficient to support

2     defendant’s plea of guilty.

3        LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

4                 Defendant agrees that, provided the Court imposes (i) a

5     term of probation or (ii) a total term of imprisonment on all counts

6     of conviction of no more than 12 months and a day, defendant gives up

7     the right to appeal all of the following: (a) the procedures and

8     calculations used to determine and impose any portion of the

9     sentence; (b) the term of imprisonment imposed by the Court; (c) the

10    fine imposed by the Court, provided it is within the statutory

11    maximum; (d) to the extent permitted by law, the constitutionality or

12    legality of defendant’s sentence, provided it is within the statutory

13    maximum; (e) the term of probation or supervised release imposed by

14    the Court, provided it is within the statutory maximum; and (f) any

15    of the following conditions of probation or supervised release

16    imposed by the Court: the conditions set forth in Second Amended

17    General Order 20-04 of this Court; the drug testing conditions

18    mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and

19    drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

20                Defendant also gives up any right to bring a post-

21    conviction collateral attack on the conviction or sentence, except a

22    post-conviction collateral attack based on a claim of ineffective

23    assistance of counsel, a claim of newly discovered evidence, or an

24    explicitly retroactive change in the applicable Sentencing

25    Guidelines, sentencing statutes, or statutes of conviction.

26    Defendant understands that this waiver includes, but is not limited

27    to, arguments that the statute to which defendant is pleading guilty

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1     is unconstitutional, and any and all claims that the Factual Basis

2     herein is insufficient to support defendant’s plea of guilty.

3                 The USAO agrees that, provided (a) all portions of the

4     sentence are at or below the statutory maximum specified above and

5     (b) the Court imposes either (i) a term of imprisonment of no less

6     than one month or (ii) probation that contains a term of no less than

7     24 months of home confinement, the USAO gives up its right to appeal

8     any portion of the sentence.

9                         RESULT OF WITHDRAWAL OF GUILTY PLEA

10                Defendant agrees that if, after entering a guilty plea

11    pursuant to this agreement, defendant seeks to withdraw and succeeds

12    in withdrawing defendant’s guilty plea on any basis other than a

13    claim and finding that entry into this plea agreement was

14    involuntary, then (a) the USAO will be relieved of all of its

15    obligations under this agreement; and (b) should the USAO choose to

16    pursue any charge that was either dismissed or not filed as a result

17    of this agreement, then (i) any applicable statute of limitations

18    will be tolled between the date of defendant’s signing of this
19    agreement and the filing commencing any such action; and

20    (ii) defendant waives and gives up all defenses based on the statute

21    of limitations, any claim of pre-indictment delay, or any speedy

22    trial claim with respect to any such action, except to the extent

23    that such defenses existed as of the date of defendant’s signing this

24    agreement.

25                             EFFECTIVE DATE OF AGREEMENT

26                This agreement is effective upon signature and execution of

27    all required certifications by defendant, defendant’s counsel, and an

28    Assistant United States Attorney.

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1                                   BREACH OF AGREEMENT

2                 Defendant agrees that if defendant, at any time after the

3     signature of this agreement and execution of all required

4     certifications by defendant, defendant’s counsel, and an Assistant

5     United States Attorney, knowingly violates or fails to perform any of

6     defendant’s obligations under this agreement (“a breach”), the USAO

7     may declare this agreement breached.        All of defendant’s obligations

8     are material, a single breach of this agreement is sufficient for the

9     USAO to declare a breach, and defendant shall not be deemed to have

10    cured a breach without the express agreement of the USAO in writing.

11    If the USAO declares this agreement breached, and the Court finds

12    such a breach to have occurred, then: (a) if defendant has previously

13    entered a guilty plea pursuant to this agreement, defendant will not

14    be able to withdraw the guilty plea, and (b) the USAO will be

15    relieved of all its obligations under this agreement.

16                Following the Court’s finding of a knowing breach of this

17    agreement by defendant, should the USAO choose to pursue any charge

18    that was either dismissed or not filed as a result of this agreement,
19    then:

20                a.    Defendant agrees that any applicable statute of

21    limitations is tolled between the date of defendant’s signing of this

22    agreement and the filing commencing any such action.

23                b.    Defendant waives and gives up all defenses based on

24    the statute of limitations, any claim of pre-indictment delay, or any

25    speedy trial claim with respect to any such action, except to the

26    extent that such defenses existed as of the date of defendant’s

27    signing this agreement.

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1                 c.    Defendant agrees that: (i) any statements made by

2     defendant, under oath, at the guilty plea hearing (if such a hearing

3     occurred prior to the breach); (ii) the agreed to factual basis

4     statement in this agreement; and (iii) any evidence derived from such

5     statements, shall be admissible against defendant in any such action

6     against defendant, and defendant waives and gives up any claim under

7     the United States Constitution, any statute, Rule 410 of the Federal

8     Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

9     Procedure, or any other federal rule, that the statements or any

10    evidence derived from the statements should be suppressed or are

11    inadmissible.

12                         COURT AND UNITED STATES PROBATION

13                     AND PRETRIAL SERVICES OFFICE NOT PARTIES

14                Defendant understands that the Court and the United States

15    Probation and Pretrial Services Office are not parties to this

16    agreement and need not accept any of the USAO’s sentencing

17    recommendations or the parties’ agreements to facts or sentencing

18    factors.
19                Defendant understands that both defendant and the USAO are

20    free to: (a) supplement the facts by supplying relevant information

21    to the United States Probation and Pretrial Services Office and the

22    Court, (b) correct any and all factual misstatements relating to the

23    Court’s Sentencing Guidelines calculations and determination of

24    sentence, and (c) argue on appeal and collateral review that the

25    Court’s Sentencing Guidelines calculations and the sentence it

26    chooses to impose are not error, although each party agrees to

27    maintain its view that the calculations in paragraph 11 are

28    consistent with the facts of this case.         This paragraph permits both

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1     the USAO and defendant to submit full and complete factual

2     information to the United States Probation and Pretrial Services

3     Office and the Court, even if that factual information may be viewed

4     as inconsistent with the Factual Basis or Sentencing Factors agreed

5     to in this agreement.

6                 Defendant understands that even if the Court ignores any

7     sentencing recommendation, finds facts or reaches conclusions

8     different from those agreed to, and/or imposes any sentence up to the

9     maximum established by statute, defendant cannot, for that reason,

10    withdraw defendant’s guilty plea, and defendant will remain bound to

11    fulfill all defendant’s obligations under this agreement.            Defendant

12    understands that no one -- not the prosecutor, defendant’s attorney,

13    or the Court -- can make a binding prediction or promise regarding

14    the sentence defendant will receive, except that it will be within

15    the statutory maximum.

16                               NO ADDITIONAL AGREEMENTS

17                Defendant understands that, except as set forth herein,

18    there are no promises, understandings, or agreements between the USAO
19    and defendant or defendant’s attorney, and that no additional

20    promise, understanding, or agreement may be entered into unless in a

21    writing signed by all parties or on the record in court.

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1                   PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

2                 The parties agree that this agreement will be considered

3     part of the record of defendant’s guilty plea hearing as if the

4     entire agreement had been read into the record of the proceeding.

5     AGREED AND ACCEPTED

6     UNITED STATES ATTORNEY’S OFFICE
      FOR THE CENTRAL DISTRICT OF CALIFORNIA
7
      STEPHANIE S. CHRISTENSEN
8     Acting United States Attorney

9                                                            September 15, 2022

10    LINDSEY GREER DOTSON                                   Date
      RUTH C. PINKEL
11    THOMAS F. RYBARCZYK
      Assistant United States Attorneys
12

13
      MARILYN LOUISE FLYNN                                   Date
14    Defendant
15

16    BRIAN J. HENNIGAN                                      Date
      VICKI I. PODBERESKY
17    SAMANTHA S. SCHNIER
      Attorneys for Defendant MARILYN LOUISE FLYNN
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19    ///
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